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EXHIBIT 1

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1190 Allerton Road
West Chester, PA 19382
610-457~1662

- )(perTox

   

 

To: Aaron J. Frelwald, Esq.

Frorrr. Bruce Nlolholt, Ph.D.

Re: Hannan and Corbett vs. Texas instruments
Date.' 16 April 2010

Dear Attomey Freiwa|d -_

This is my expert toxicological report oonceming the above-captioned case on behalf
of plaintiffs

introduction

Sandra Hannan and Cheryl Oorbett are sisters who grew up in Atlteboro,

' Massachusetts, which is near Boston. As children they frequently piayed and picked
barnes on an area near the edge of town which would later be classiiied as a
Superfund site by USEPA_ and swam and tished in a nearby pond. This site, the
Sh'p_ack Landtili, was both unfenc_ed and unmarked, and its multiple toxic
contaminants included both carcinogenic chemicals and radionuclides.

The major contributor of these hazardous wastes at the Shpack Landfill was Texas
instruments (l't) and its predecessors in At`tlebero. ln addition to dumping large
quantities of carcinogenic wastes, TI would often burn these wastes. Hence, Mrs.
Hannan and Mrs. Gorbett were exposed repeatedly as children to disposed Tl
carcinogens by a variety of routes (direct oontact,' ingestion and inhalation).

Subsequentl_y. as adults,~ both Mrs. Hannan_ and Mrs_. Corbett would be diagnosed
with rare forms of papillary thyroid cancer known as "Warthin-like" and with marginal
zone non-.l-iodgl<in's lymphoma, respectively Subsequently. a study by the
Massachusetts Dept. _of. _Heallh would _tind_ that thyroid cancer rates have been
statistically significantly elevated in Attleboro. Aocord ing to the peer-reviewed _
medical literature, papillary thyroid cancer is known to be associated with radiation
exposure, such as the population exposed as children to radionuclides emanating
from the 1986 Chemoby| disaster.

Quarrircacrons

|"ha've been practicing the science of to$dco|ogy for 30 years, "eyer since l came to
Philade_lphia to be Scienc_e D_irector o_f the Environmental. Cancer Prevention Center
at the Put_)lic interest Law Ce_nt`er of Philadelphia (Pll_(_;OP).z Subsequentiy l would be

toxicologist for the~Superfund Piogram attire U.S. Environmental Prt.)tection Agency
(Region |ll Otlice ln Philad_e|phia) and Dir_ector of Risk Assessment and ._Toxicology

 

 

 

 

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l~lanna & Corbett vs Texas lnstnnnents v ‘

Programs and Pn'ncipal for Envircnmental Rescurces Management (ERM in Exton,'
PA).

Throughout these 30 years l have maintained my academic credentials through
publications in peer~reviewed joumals_,- teaching at local colleges and universides and
presenting invited seminars. My present academic affiliation is with the Environ-
mental Studies Program'of the University of Pennsylvania'where l have taught for the
past 20 years. ln‘addition, l have~testitied as an expert toxicologist in dozens ofcourt
cases concerning adverse human-health effects from exposures to chemical and ~
radionuclide toxins. My current resume ls appended to this report `

Materials Revi`ewed

information for this expert report has been gathered from several sources, including
those specilic for plaintiffs and government documents regarding the Shpack Landtill.
Complaints tiled for Sandra Hannan and Cheryl Corbett;

Deposltions of Sandra l-lannan and Cheryl Corbe_tt;

Medical records for Sandra Hanrian and Cheryl Corbett;

usEPA Record of oecrsro`n` (Roo) for the shpack Landru;

Three CDs produced from USEPA’s Administratlve R'ecords file for the
Shpack Landtill;

ATst)R's Pubric Hearn Assessments forms shpack Landnr;

Massachusetts Dept- of Health's epidemiological studies of cancer incidence
.ln-Attleborp and-Norton, 'MS;. .~ ' __ ' '-

8. Records of the U.S. Dept. off Ene_rgy'(O‘ak Ridge National L`aboratory)
' _ regarding the Shpack Landtiil; ' k . ~ ' '
9. Addrrronar u.s. oepr; of Ener`g'y records forma shpack tenant dated 7114/08
` and 911 5/08;

10. l=eer-reviewed medin literature regarding thyroid carcinogenesls from
radiation and chemical exposures; '

.11`. Declaration of Oscar Nietz_el dated _9]15/06;

12. Deposition of Oscar Nietzel dated 3/9/09;

13. R_ec`e`nt depositions of 'Robert & De'nnis Nixon; and
.14. Recent depositions of Janet & Ronald O’Reilly.

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' ' 16 Aprii 2010
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Histor`y of Texas instruments in Attleboro, Massach usetts

The history of what would become the Texas instruments plant in Att|eboro goes
back to 1916 and includes several name changes

- 1. What would»become Nle_tais & Controls (M&C)' began as a jewelry
manufacturer (General Plate Co.) in_ Attieboro in 1916. There is an
extensive history in the USEPA Administrative Records tiles in a report
issued on the 50"‘ anniversary ortirs facility in 1966.

2. The plant began making industrial equipment including therrnostats
and.protective equipment for the electrical industry, including circuit
breakers, in the 19303. The military became their largest client

3. M&C incorporated in 1931, consolidated with Texas instruments (l‘l) in ~
1959 and became a Corporate Division of Tl on 3 January 1961.

4. Theirtirst production cf nuclear fuel was in 1952.

5. in 1953 they began to experiment with rolling uranium ingots into
foil`s which had potential nuclear power applications ~

6. Following a bad inspection report, in 1959 Nl&C reorganized its nuclear
work becoming M&C N_uclear. AEC opined alter an inspection that year
that this reorganization probably would not improve health and safety at
the M&C plant

7. After consolidating with Tl in 1959, M&C become the world's
largest private supplier of enriched uranium'produc_ts. 'ln 1959,
the annual budget of M&Cfl| exceeded $30 million in 1959$. -

Production of Radioactive Products by Texas instruments

n During the height of,the, cold war the malpr'products'_of the Texas instruments plant in
Attleboro were nuclear fuel rods for use in new warships cf the U.S. Navy.

1. in June 1958. a year before its reorganization a_s M&C Nuclear, M&C was
contracted by the AEC to produce fuel rods for nuclear submarines and
aircraft carriers o'f the U.S. Navy. '

2. By 1961 M&C Nuclear was a Corporate Divi_sion cf Texas instruments

wages

 

 

 

 

 

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3. M&C received kg quantities of enriched uranium (>95% U~235) from Oak
Ridge Natlcnal l_.abs (TN) and zirconium alloy (zircalloy) from Knolls
. Atomic Power Lab (KAPL), a division of General Electric (Schenectady`.
NY) in order to fabricate nuclear fuel rods for the U.S. Navy. `

4. The fabricated fuel rods were then shipped by rvr&c to KAPL under
contract where KAPL installed them in nuclear submarines and aircraft
carriers

Histoly Of the Shpack Landl'ill

The Shpack Landti|| was an unfenced, unregulated dump in between the townships
cf Attleboro and Nortron into which most wastes cf the Texas instruments plant were
disposed.

1. The Shpack Land&ll accepted industrial and municipal wastes 1946~65,
i.e., during the period of major nuclear fuel rod development by M&C/Tl.

2. The Shpack Landlill was categorized as a “mixed waste" Superfund site
by USEPA, ire., that it contains both radiological and chemical hazardous
wastec. . .

~ 3. Radioiogical contaminants include three uranium lsotope_s: U-234, U-235

& U»_238. (U_-235, thejtissionable isotop.e. Pf€dominatcs.) There is also
some radium l'(Ra-22t3), but this radionuciide appears to be in background
concentrations '

Carcinogenic Profile of Contarninants at the Shpack Landtill .
During their extensive sampling of the _Shpack Landtill during their Superfund
investigation. USEPA found a wide variety of carcinogens present at dangerously
_ high concentrations
1. The ,radionuc|ide contaminants of the"Shpack i.andlil| are carcinogenic
inih`ators, that is they mutate DNA which. in oncogenes, are the wquired
first steps in carcinogenesis.

2. in addition. chemical'carcinogenic ir_ritiatorsl such'as vinyl chloride, are
also present (as are its precursors TCE and cis-1,2-DCE).

3. There are also numerous carcinogenic promoters, including benzene,
poiynuclear aromatic hydrocarbons, dioxins and PCB~1254.

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4. The presence of both carcinogenic initiators and promoters means that
cancer risks from exposure are exacerbated due to_ the synergistic
interactions between these two classes of carcinogens

Waste Disposal by Texas instruments and Evidence of D'umping into the
Shpack Landfill _ .

A review of avahabie documents reveals the quantities of radionuciide and chemical
wastes generated by M&C Nuclear (Ti) and their disposal at Shpack Landtiil. Given
the presence of significant quantities of enriched uranium (EU) in the Shpack i.andfili,
there is no doubt that Texas instruments used this dump for radwaste disposai.

1. Alihough company documentation. including'negotiations with AEC
(the regulatory agency of note during most of M&C's heyday) is fairly
compiete; there is little documentation mgarding waste disposai.

2. lt is clear-that they handled huge quantities of highly enriched.uraniurn.
it is probable that this amounted to >1,_000 kg U-235 per year (~95%
U-235, U-238 and'U~234, also present at Shpack, being the three
uranium isotopes of concem).

3. For most cf their production of nuclear fuel for the Navy (rncluding fuel
rods for both aircraft carriers {such as the Entelprise] and submarines
' [such as Triton]) they received the enriched'U~(EU >90% _U-235) from
Oal<Ridge (ORNL). and zircalioy (a zirconiurn alloy for oladding the
EU) from Kn`oiis Atomic Pow_er Labs (KAPL) in Schcnectady, NY, as
raw materials for the fabrication of nuclear fuel rods

4. Once fuel rods were fabricated, they were shipped to KAPL (GE) in
Schenectady for subsequent e'm_piacement in naval vessels (This
whole process was overseen by DOE’s Navai Reactors Ottice [SNRO],

also located in'Schenectady.)

5. Other customers of i\/i&C _Nuci`ear (`.-i'i) included foreign governments
(Japan and Beigium); U.S.` Nationai i.abs (Lawrence Livermore,'
Argonne. and Oa_k Rid.ge) and several U.'S.'ccmpanles, including:

. Battelie ~

Aerojet

Phiili`ps . '

Union“Carbide' ' '

Wesiinghouse.

Ains-Chaimers

Pr_att‘& Whitney

escapee

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Oddly enough,_it appears as if they were tinkering with nuclear fuel for
potential use in aircraft reactors in their P&W contract

. A central technique in deaning EU obtained from ORNL included

extensive degreasing. sometimes denomd as vapor degreaslng.
Aithough not pinpointed as to the exact degreasing solvent(s) used,

l am confident this was a major source of the TCE found in significant
quantities at Shpacl< (and subsequently found to be degrading
extensively to cis-12~DCE and VC). ' -

. There re extensive dewmentarien or M&crrr lessee or Eu during me

fabrication of nuclear fuel - averaging about 1,_5% of the EU as non-
recoverable wastes Given that they handled hundreds of kg of EU
annualiy, this is a significant source of radioactive wastes on-site.

. Upon being decommissioned, the'massive M.&C/i`i plant in Attleborc

was found to be extensively contaminated with radioactivity, requiring a
major cleanup effort building-by-buiiding. ` , ~

. M&'C is often chastised (and charged) by KAPL for' having lost U-235

inventory (in excess of$1.4 million in one _year). Th_ey also frequently
have miscalculated what they received before manufacturing nuclear
fuel forthe Navy - often finding a higher enrichment percentage (U-
235/total U) in their product than that received from QRNI. -

10.Aithough waste disposal pmcedures are not extensively documented,

~ there are multiple advisories from AEC which include burning and
burial ~ if local or state regulations are not violated

1 1. One significant application specificaiiy'details burning of paper, wood

and'other combustible trash in their on-site inclnerator. Due to
extensive contamination each 300 lbs of waste so bumed was
estimated to' produce 10 g U-235, ‘l g'U-238 and some lhorium (Th-
232). Obviously~s_ome of'thls radioactiva went up the stacks but there
were enough residues in ash to warrant a recovery operation '

12.'An extensive application of M&Cfi'i regarding liquid wastes (approved

by AEC)_ allows for water dilution and_ then dumping them into Attleboro
public sewers ' ' ' '

13. A license application to.the AE (u_ndated) reads as follows mgardin_g

radwaste disposai: ' ~ '

 

 

 

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“The radioactive wastes which are generated are currently disposed
of through Comrnlssion channels and it is oontemplawd that anange~
merits would be made to either continue such disposal orto utilize
private concerns for such disposal.' (Emphasis mine)

14. There is documentation of signilicant problems in dealing with
radioactive wastes in April 1966 which eventually forced them to
abandon their nuclear fuel business

15. The presence of'lhorium Uw232) wastes stems from M&C Nuclear
(Ti) production of two products:
a. 7°horr'um1fcll (presumab|y similarto the uranium ton produced
earlier). .
b. Thonated graphite electrodes

16.Additionai on-site contaminants lnclude:
a. Dr'chromate - hexavalent ehromium, apparently used in the titration
. , (quantifrcation) of uranium'; ~ ,.
b. Zirconr'rrm - Used for fuel rod cladding (mostly as zircalloy) because
it is transparent to neutrons); and ' .
c. Hafnlum - potentially a contaminant of zirconium or, possibly, used
as an experimental replacement for zircqrriurrr_ in_ fuel rod cladding.

The Radionuclide inventory at M&C NuciearITl and Evidence for Warhead
Manufacture

1. This evidence has been obtained from an extensive (123 pp.) report
entitled “Ana|ysis of possible nuclear material losses and possible
lr¢rbrTrties," written by AST_RA, lnc., of Ra_lelgh, NC.2 Al_though the majority
of this report entails the potential for U'23_5 holdings (averaging in excess
of 1,00_0 |Q at all times) for “going critical,.” i._e., engendean a_ nuclear
chain reaction, this report also addresses other health risl<s.

a. There~have been many incidents rn the u.s. (and abmad)wrrén
- enriched uranium (EU) reactors reached criticality. Euphemistr'cally,
these have been labeled "excursions."

b. One'reason M&Cfl'l may have'been so obsessed with criticality is that
they were dealing primarily with weapons~grade uranium (>90%

‘ rn auction `ro manufacwrrng rer win enriched malum rE.u), Ms;c, N'uorear also made rolls wrrrr
depicted uranium (DU. which l_s mainly U-238).

 

2 nrs report rs round rn _me 3""00 conrame usEPn's Admrrrscairve news attire no. 209115. `

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U-235). See point 3 below for further-explication regarding this.

Nlost reported “excursions” at_reactor or test sites have occurred in
less than 0.1_ -msec after some insipient triggean event.

One exampie, cited in this report, was the 1961 SL»t research reactor
accident in |daho during which it is noted that "objects were hurled" as
a result of this ."excursion." (From my studies of this catastrophe, one
of the “objects" was the reactor operator himself, who became impaled
onto the cei”ng with a control rod thrust through his bell,ic)

2. A 1985 study by Oak Ridge Associamd Universities (ORAU) examined
. radionuclide contamination on the M&Cfl' l site. Major contamination was
found southwest ot Bldg. 12, where drummed wastes had been burled.
and along the ioading dock of Bldg. 10.

8.

The drum burial area near Bldg. 12 was about the size of a football
field and later was mostly covered by a parking lot.

Ma]or contaminants found in both soil and groundwater of the drum
burial area included U»23_5. U-238, Th-232 and Ra-226 --the same
radionuclides have been found to contaminate the Shpa'ck t.and_fi|l.

These same radionuclides were found in the loading dock area of
Bldg.' 10. ' ~

Maximal contamination levels found are summarized in the following
table: ' ‘ . ‘ ~ ‘

  

X

 

3. Why did M&ClT| deal mainly with such highly enriched uranium (EU)?
Natur'al uranium is 0.7% U-235, which must be enriched to 3.7% to sustain
the chain reaction required to produce nuclear power. However, most of
the EU at M&_Cl`ll was >90.% U~235 (sor`ne as‘high as 96%). ihis is
weapons-grade uranium ' ' `

 

3 All soil levels of Ra-226 at Bl_dg. 110 appear tro be backgmund; however. a button containing Ra-226
Wa$ fCU¥\d.ll’l buried debris SOUH‘|W&¥¥ OfBldg.1Z The ligth Ra~226 h Bldg. 12 Soil Wa$ in the
10,240 pCr/g Th-232 sample-and R'a_-226 may be a contaminantof 111-232.

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in that some sections ofthis database are heavily redacted (sometimes
entire pages blacked out), it maybe that M&Cri'i was manufacturing
nuclear warheads for the Triton and other nuclear submarines .- which are
known to carry lCBMs with nuclear warheads. lt only takes 10 icg of highly
enriched uranium-to arm a nuclear warhead, and M&Cfl'i.usually had '
enough product on hand to manufacture 100 warhe_ads. -

4. interestingiy, in addition to carrying inventories of 3.7% and >90% U-235,
they also carried considerable uranium stocks with intermediate levels of
enrichment Were these used for research purposes in-house Crf so, many
other radionuciides --,fiSS.lon products - would have been produced)? lt is
also probable that they used these stocks to manufacture fuel rods for
research purposes extramuraiiy.

The following table summarizes their inventory of various stages of U-235
_ enrichment as of January '1962:4 -

at

 

Childhood l-iistory of l-_lan_na`n and _Co_rbett at the Shpack Landtiil

' Sandra l-iannan and Cheryl C`orbett grew up ln-the immediaire~nelghborhood of the
Sh_pack Landfiil_andfrequentiy_went onto the unionized landfill to scavenge for used
fumiture, bicycles. bottles and other discarded i_uni< (the landfill was a domestic as
weil as an industrial'dump). They also ate biue'benies from the site and fished and
swarn in nearby Chartiey Pond. '

 

‘Theeesrocreoruranmemchedtovanousreversofu-zaswaesuppued bymemramousAE_c
Y-iZfacioryathkRidge.TN. 'iheswci<ssuppli.edtoM&ONuciearh`the 195tisand6ilswereai|
enrichedbygaseous_diifusicn (ratherjihancentrifugatlon_usedtodayforenichment). Uraniumwas
-drasavedwhydwuueeacuara)weeaemanmne;arucncewmananeuyagasamm
temperature). TheUF@gaswasreleased"atoneendof|arg`esealedbuiidingsandthencondensedat
the otherend -the iighierU-235_ isotope diffusing slightly fasterthan U~238. Mu|ttplecycies of gaseous
diffusion enrichment were required to increase-the~p_erwntage.of U-235 ateac`h cycie.

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' 1. Their major combing of the Shpack Landtili occurred as elementary school
children and teenagers, but they also continued to visit the landfill and fish in
Chartley Pond as young adults.

l 2. in 1964. when cheryl corbeuwaé 13, mar miner moved to 44 srurdy st,
which is in between the 'Shpack Landtiil and Chart|ey'Pond.

 

3. This home would stay in the family when Sandra Hannan would buy it from
their mother in 1967. '

4. Their_home on Sturdy St. frequently would become inundated with dark, '
pungent smoke emanating from burning trash at the Shpack Landiiii. ~ §

Thyroid Cancer is Statistica|ly Signifieantiy Eievated in Attleb'oro, MS

1. The Massachusetts Dept of l~lealth has conducted an epidemiological study
v of cancer incidence in Attieboro, MS. The incidence of thyroid cancer in `
‘Attieboro is elevated above the background rate with 95% statistical
significance ' v

2. The forrean cancer rncuenoes are also erevated in Arrrebom with 95%
statistin significance: Hodgkin's disease, biadder, breast, lung and liver.

Papiiiary Thyroid Cancer Diagnos'es _of Hannan and Corb'etf ' l

1. Sandra J. Ha_nnan wasme `on 12/31/40. She was diagnosed with Warthin-
like papillary thyroid cancer with Hurthle'ceii meiap|asia on 4/4/06 at age 65.

2. Her sister. Cheryl N|. Corbett, was born 8 years later on 1218/4,8. She was
diagnosed with papillary adeno'carcinoma'of the thyroid with marginal zone
non-Hodgkin’s lymphoma on 3/4/05 at age 56.

3. in addition to their raresubtypes of papiiary thyroid cancers,'both sisters were
diagnosed with l-lashinroto*s thyroiditis,_~an autoirnmune disease characterized
by iyr_nphocytic infiltration of the thyroid giand and antibodies to various thyroid
proteins. ‘ '

4. Bclh sisters required thyroidectomy to rid them o`f their malignant cancers. -
5. That these sisters were diagnosed with their papillary thyroid cancers about a v l

ye:r apart indicates a common causal exposure history, perhaps decades
ea rer.

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Papiilary `lhyrold Carcinogenosls

Most of the radionuclides dumped into the Shpack Landfill by Texas instruments are
alpha~particle emitters which, if inhaled or lngested, are potent carcinogens in
addition, there is substantial epidemiological evidence linking papillarythyroldl
oancers to'expcsure to this category of radionuclides.

1. Alpha~emltting radicnuclidesare particularly toxic, including

- carcinogenic, when ingested or'inhaled. Overali, the toxicity of these
radionuclides depends upon their half-life (the shorter the half»life, the more
radiation emitted per second) and ih€WP€S of radiation emitted.

' Pr{>percies of Radronucrrde contaminants al M&crn & shpack

 

 

 

 

Hanziieins). .d.r"_nirrro_n =as'~=bgrr_rion. freeman `,_1'6_‘;20;0
Radi'alio`i'i' loi- _c¢ ' icc ct,y

 

 

 

 

 

 

 

2. roxicolggy.om-emrg'ng raurogugr@es

.The a-pariicie (a helium nucleus) cannot penetrate clothing or skin when one
is exposed to external radicnuciides; however, this form ct radiation is the
most dangerous when radionuciides have become internalrzed. The average
path-length of or-'pariicle emissions inside the body is 50 cell diameters and
any DNA within that path-length is either destroyed or heavily mutated.5

Dlscusslon

lt is not unusual for canoers t_o be detected decades after exposure to carcinogenic
substances Recently the all-pro NFL defensive lineman and TV commentator Merle
Olsen died of mesothelioma at age 69. lie had been exposed to asbestos as a
construction worker 50 years earlier. l have testified in other cases where the interval
betwwn exposure to known carcinogens and subsequent cancer diagnosis has
been several decades '

The reason for this prolonged lag time between carcinogenic exposure and cancer
diagnosis may be found in the multiple stages of carcinogenesls:

‘l. Initiatr'on - At least 2 genetic mutations in cncogenes; . .
2. Prom'oticn - Proiiferaticn of carcinogenlc~initiated cells into~a small lclone;

 

 

 

 

 

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3. Progression - Acquisition of additional mutations which are required for
invasion and metastasis.

Each of these stages may take a decade or more to accompnsh. Part of this
prolonged lag time is due to the.body's natural defenses including DNA repair to
prevent incorporation of mutations into daughter cells and T~lymphocytes which
recognize and destroy budding tumor ceiis.

Hence. it is not unusual that Sandra Hannan and Cheryl Corbett were diagnosed with
their papillary thyroid cancers at ages 65 and 56, respectively

Some of the oncogenes which are characteristic of papillary thyroid cancers` have
been identiiied. One. the BRAF gene, is characteristic of Warlhin-li<e papillary
cancers with Hurthie cell involvement6 This is the precise pathological detinwon of
Sandra Hannan's papillary thyroid tumor and has been found more often in cancer
patients with a history of radiation exposure (previous footnote), including children in
Belanrs who were exposed to the faliout from the Chemobyl disaster in 1986.7

 

° Endocr Parnor. 2005 Fari:ro(s):r 63~72.

Alterations of the BRAF gene in thyroid tumors.

.cramer. NrkrroronE. ~

Department of Pathciogy and Laboratcry Medicine. University of Cinclnnati College_ of Medicine.
Cincinn`ati.' OH 45267~0529. USA.- 4 ~ ~

BRAF belongs to;the RAF family of protein kinases that are important components of the MAPK
signaling pathway mediatin_g cell growih, drfferentiation and survivaL Actlvatlng point imitation ofthe
B_RAF gene resuit'ng in VGOOE (previously des'@nated as \_/5995) is a common event in thyroid
papillary carcinoma, being fomd in approx 40% of this turnor. lt has strong association with classical
papriiar-y carcinoma__and tall c`eli and possiblyllll_arihln-llke variants This mutation also occurs in thyroid
poorly differentiated and arraplastic carcinomas. usually those containing areas of papriiary carcinoma
Alteraticns in the BRAF gene do not overlap'with RAS mutations and RET/PTC manangement.
indicathg that activation of one of the etioctors of the MAPK pathway ls suili~cientfor papiilary thyroid
carcinogenesis. Recentiy. another medianism of~BRAF activation has-been identified which involves
chromosome_'lq lnversion tt_\atresults,in meAl<APS-BRAF fusi`on. itls' rare irr`sporadicpapiilary
carcinomas andismoreoommon in mcmassociatedwrihradiatronexposure. \"etanothe'r
mechanismofBRAFactivation mayinvoiveoopynwnbergaln,which'isseenin asignmcantpodionof
thyroid follicular tumors of both conventional and oncocytic [l-iiirthie celi) types (Emphasls mine)4

7Jcrrn Endoarno Meia_b. 2001 Jur:oomozrr-e._ _ .. _ '.
REi'iF`i'G_ rearrangements in thyroid nodu_ies: studies in irradiate`d and not inadiated, malignant
and benign thyroid lesions iri-children and adults; ' ` ' '

Elisei R, Rornei C, Vorontsova T, Cosci B, Veremeychik V. Kuchinsk`aya E. Basoio F, Demidchit< EP;
Miccoli P. Pinchera A, Paoini F. ' . .

Deparirnents of Endocrin'oiogy and Meiabolism, Universlty of Pisa. Pisa 56124,itaiy.
Rearrangernmts of theRi.'-.'~i' proto-onoogene mayocour in both nat.rrally occurring and radiation~
indqu papillary thyroid oarcino_rnas. Cont_liotlng rosuits on the frequency and type of RET/PTC
rearrangements have been reported in relation id 59€, radiation exposure. and hiswlogical tumor
variant We designed the present stirdyto evaluate in a stage laboratory using the same
methodologies, the pattern of RETfFTC activation in thyroid tumors from diii'erent'gr'oups of patients

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Molholt Expert Report 16 April 2010
Harina & Corbettvs Texas instruments

lt should be noted that Cheryl Corbett's papillary thyroid cancer although diagnosed
only a year earlier had a different cellular pathology. Papillary adenocarcinorna with
marginal zone non-Hodgkin' s lymphoma. PapRlary thyroid sanders with this
pathology have not demonstrated the BRAF oncogene mutation or gene fusions.
'Hence, it is unlikely that these two sisters inherited a predisposing onoogene, i.e.,
they were not geneti`cally predisposed to papillary thyroid oan_oer.

 

(exposed or not exposed to mdiaton, shtdren or aduits, with benign or malignant turnors) in
relationship to the above mentioned variables We studied 154 patients with benign nodules (n= 65) or
papillarythyroldcancer(n=titi).lnlhelast_group, 25were Belarus shidren exposedtothepoet-
Chemobyi radioactive fallout, 17were italian adults exposed to eidemal radioiherapy for benign
diseases and 47 were italian subjects (25 children end 22 adults) with no history of radiation exposure
Among patientswith benign thyroid nodules, 21 were Bewrus subjects (18 children end 3 adults)
exposed to the post-Chem'obyl mclroactive fallout, 8 were italian adults exposed to external radiation on
the head and necl<. and 36 were italian adults with naturally occuan benign nodules. The overall
frequency of REi'/PTC rearrangements` ii_i papillary thyroid cencerwes 55%. fire hibhestfiequency
was -found tri post-Cher`nobyl children and was significantly higher (P= 0. 02) then that found in italian

v ditdrennotexposedtora@tion, britndtsignifiwntiyhlgherttranlhatfoundlnadultse)¢iosedk)
external recitann No difference of Rl':'i'IPTC reanangementswas found between samples from
irrad'rated (externai x-ray) or not irradiawd adult patients, as well as owen children and aduts with

~ naturally odcuin'ng. not vacated thyroid snider When analyzing the type of RE'l'IPTC rearrangement
(RETIF*TC‘i or-RETIPTOS). no majorditferencewas apparent in addition, eight sases_with an
unknown RETPTCremanWmentaid%ueeceseswltimeconcomhnrtexpiessimofREr/PTC1 and
RET/PTC$werefound. Nosigntiwrtconeladonwasobsnvedbetweenthehequencyandlordietype
of RETIPTC rearrangement a'nd clinical-epidemiological features of the patients such as age at
_diagnosis. age at e)q`iosure. histolcg`icel variant, gender and turr'ior~node-melastasis (TNM) categories
RETIPTC rearrangements werealso found in 52.4% of post~Chemobyl benign noduies, in 37 5% of
benign nodulesexposedtoeidenrel raciationand in 13.`9%of_neturallyodcun'ingnoduies(i>= 0005,
between benign post-Chemohyl nodules and naturally occurring ncduies) The reiativefrequency of
REl'/PTC1 and REl'IPTCB in rearranged benign tumorss_hower`i no majordii’ferendo. in ccnciusion.
ourresultslndlsatetiiatlhepiesenceotRET/PTGrenrangementsin lhyrdldtumorsisrrotrestrimd to
memaugnantphenotype, isncthigherinradlatlon~lnducedwmorscmnparedwithlhosenaunaty
occurring. is riot different after exposure to radioiodlne oreidemal radiation. and is not dependentfiom
young age.' Otherfactor_s. probably influenced by ethnic or genetic background may act independently
from or in cooperation with radiation; to triggerthe DNA damage leading to R_ET protooncogene
activation (E_mpnasrs mine)

- °’l’hls conclusionlsfurthersubstantrawdbyaiackofthyroldcarroerin theirfarnilyhistory. itshouidbe
noted that even lfSandra Hannan and Cheryl Corbett had inheer err onccgene predisposing to
thyroid sarcinogenssisfromo_nepe`rent, muiationofthlssameoncogeneinthehomologous
chroniosome (from mother parent) by an environmental carcinogen would be required.

Knudson, A ..,G Jr. end B. Molhoit [eds] (1_980) Gerietic predisposition to cancer in mari.
National Technisal information Se'rvlce, Springtield.VA. ‘

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Momorre<pennepon ` is Aprrr 2010
Hanna & Corbettvs Tems instruments _

Conclusions

As sisters Sandra Hannan and Cheryl Corb_eit grew up in the edme household and
as children and young adults frequently visited i_he vuni“enoe¢.'i Shpack Landiiii for
scavenging for iur\k. picking blueberries and swimming and fishing in the adjacent
Chartley Pond. There was frequent burning cfdiswrded‘debris atihe i.andiill
Henoe, they were exposed te contaminants of the Landiill and Pond by ingestion,
dennal contact and inhaiation.

Shpack Landiili contained both domestic and industrial wastes. the latter being
dominated by radioactive wastefrom ihe nearby M&C Nuciear plant, a division of
_ Texas lnsirwnents. There is no question that this plant was the source of radio-
nuclides in the Shpack Landiill as.draracterized by very high ratios of uranium-235 to
uranium-238 indicating that the source employed highly enriched uranium (EU).

0de ialer. in their 505 and 608, wese two sisters would he diagnowd within a
year of each other _with rare forms of'papillary thyroid duncan for which both required
myroidectomy. increased risk for papillary thyroid cancer has been iini<ed to radiation
exposure in the peer'reviewed mediml literature '

' Wrth reasonable scientific oertainty, l conclude that Sandre Hannan and Cheryl
' Gdrbeit-develeped weir papillary thyroid anders as a resulth having been excused
as children and_ young adults to radionucfrdee in the Shpack Landiill which had been
l dumped there by.Texas instruments and its predecessors M&O and M&O' Nuclear.

l Y.,ours sincerely,.

,é/zél/

Bm¢e,rvrorhorr, Ph.c.

  

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